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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

UNITED STATES OF AMERICA


                                                Criminal No.: 3:10CR170-15-HEH
                                                Civil Action No.: 3:13CV479-HEH
HARRY RHYNE MCCALL,

         Petitioner.


                              MEMORANDUM OPINION
              (Motion to Vacate, Set Aside, or Correct Sentence Pursuant to
                  28 U.S.C. § 2255 and Motion to Amend or Supplement)

         The Petitioner, Harry Rhyne McCall ("McCall"), presently a federal inmate, was

convicted by a jury of this Court on December 21, 2010, of Conspiracy to Violate the

Racketeer Influenced and Corrupt Organizations Act ("RICO"), in violation of 18 U.S.C.

§ 1962(d) (Count One); Conspiracy to Commit Violence in Aid of Racketeering, in

violation of 18 U.S.C. § 1959(a)(6) (Count Two); Violence in Aid of Racketeering, in

violation of 18 U.S.C. §§ 1959 and 2 (Count Three); and Possession of a Firearm in

Furtherance of an Act of Violence, in violation of 18 U.S.C. §§ 924(c) and 2 (Count

Four).

         On April 8, 2011, McCall was sentenced to 97 months of imprisonment on Count

One, 36 months on Count Two, to be served concurrently, 97 months on Count Three, to

be served concurrently, and 60 months on Count Four, to be served consecutively. His

convictions were affirmed by the United States Court of Appeals for the Fourth Circuit

on August 2, 2012. Werth v. United States, 493 F. App'x 361, 364 (4th Cir. 2012). The

case is presently before the Court on McCall Js Motion to Vacate, Set Aside or Correct his
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Sentence Pursuant to 28 U.S.C. § 2255 (ECF No. 1027) which he has timely filed pro se.
Both McCall and the United States have filed memoranda supporting their respective
positions.

       Although McCall styles his claims as demonstrative of ineffective assistance of

trial counsel, the overarching theme of his motion is overzealous prosecutorial tactics and

outrageous governmental conduct. In his view, the defense should have focused

primarily on the government's decision to prosecute members of the Outlaw Motorcycle

Organization ("Outlaws") and the strategy used by the Bureau of Alcohol, Tobacco,

Firearms & Explosives ("ATF") to infiltrate the organization. The tenor of his grievance

is well captured by his comment, "the tactics with which federal authorities pursued

McCall, suggest that the prosecution and Alcohol Tobacco and Firearms,... agents over

zealousness, led authorities to cross critical Constitutional lines, in turn, raising serious

concerns that McCall's trial were or could have been fair and a reliable test of the

government[']s accusations." (McCall's Mem. Support Mot. Vacate 2, ECF No. 1028.)

As this preface to McCall's memorandum suggests, his claim of ineffective assistance of

counsel is premised on his beliefthat trial counsel should have more aggressively

challenged the government's conduct. Given the strength of the government's case, his

suggested diversionary tactics would have had little likelihood of success.

       The standard for review of petitions filed under 28 U.S.C. § 2255 is well

established. To demonstrate ineffective assistance of counsel, a defendant must show

first that counsel's representation was deficient, and second, that the deficient

performance prejudiced the defense. Strickland v. Washington, 466 U.S. 668, 687

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(1984). To satisfy the deficiency-performance prong of Strickland, the defendant must

overcome the "strong presumption" that counsel's strategy and tactics fall "within the

wide range of reasonable professional assistance." Burch v. Corcoran, 273 F.3d 577, 588

(4th Cir. 2001) (quoting Strickland, 466 U.S. at 689). The prejudice component requires

a defendant to "show that there is a reasonable probability that, but for counsel's

unprofessional errors, the result of the proceeding would have been different. A

reasonable probability is a probability sufficient to undermine confidence in the

outcome." Strickland, 466 U.S. at 694.

       In analyzing ineffective assistance of counsel claims, it is not necessary to

determine whether counsel performed deficiently if the claim is readily dismissed for lack

of prejudice. Id. at 697. To prevail, Petitioner must demonstrate a "reasonable

probability of a different outcome." Lenz v. Washington, 444 F.3d 295, 303 (4th Cir.

2006) (internal citations and quotation marks omitted).

      McCall's claim of ineffective assistance of counsel, as delineated in his supporting

memorandum, appears to have eight distinct, but partially related, facets:

      (1) McCall[']s counsel was ineffective for failure to object to McCall's
      sentence which is unconstitutional because the jury's findings of
      racketeering activity does not support activity which carries the greatest
      offense levels under the USSG § 2E1.1 (a)(2) (2007). Appellate counsel
      was ineffective for failure to raise this issue on direct appeal;

      (2) The district court did err in applying a two point level increase under
      USSG section 3B1.1(b) and appellate counsel was ineffective for failing to
      challenge this err[or] on direct appeal;

      (3) Counsel failed to object at sentencing and raise on direct appeal the
      inappropriate application of USSG § 2B3.2 in lieu of another section
      §2B1.3;
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       (4) Counsel was ineffective for failing to move to dismiss the charges based
       upon outrageous conduct orchestrated by the government's ... ATF agents
       as a matter of fundamental fairness and due process . .. because [there] was
       no criminal activity until the ATF agents created it;

       (5) Trial counsel was ineffective for failing to request an entrapment
       defense jury instruction for McCall;

       (6) Counsel was ineffective for failing to object to thejury instructions
       which are overbroad and inconsistent with Supreme Courtprecedent in
       Bailey v. United States, [516] U.S. [137], 116 S. Ct. 501 (1995). McCall is
       actually, factually and legally innocent of the 924(c)(1) conviction(s);

       (7) Appellate counsel was ineffective for failing to file a petition for writ of
       certiorari to the United States Supreme Court after McCall requested
       appellate counsel to do so; and

       (8) Trial counsel was ineffective for failure to investigate and uncover
       potential material evidence and documents which would directly impeach
       ATF agents and demonstrate illegal illicit activity in which undercover
       agents Grabman and Ozbolt were involved.

(McCall's Mot. Vacate 7-8.)

       McCall's contention that his counsel failed to object to the calculation of his

guidelines for the racketeering related offenses is based on a misunderstanding of the

record. In finding McCall guilty of Count One, conspiracy to violate the Racketeer

Influenced and Corrupt Organizations Act, the jury specifically found, beyond a

reasonable doubt, that he was guilty of multiple acts of interstate travel in aid of

racketeering, extortion, distribution of controlled substances, maintaining a drug

premises, and illegal gambling. McCall maintains that his offense level on Count One

was determined according to the offense level for murder and attempted murder

(U.S.S.G. § 2A2.2). McCall's contention is incorrect. His guidelines onthe racketeering
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offenses were premised on the specific predicate acts found by the jury beyond a

reasonable doubt, namely, extortion, interstate travel in aid of racketeering, illegal

gambling, and distribution of controlled substances. There is no factual basis in the

record to support this claim.

       Next, McCall maintains that his appellate counsel was ineffective for failing to

challenge on direct appeal the trial court's "inappropriate application of a 'leadership

role' under U.S.S.G. [] § 3Bl.l(b)." (McCall's Mem. Support 8.) McCall argues that

there was no evidence supporting the district court's determination that he was an

organizeror leader of the conspiracy. (Id.) McCall's trial counsel objected at his

sentencing hearing to a guideline enhancement under § 3B1.1(b) for his leadership role.

This Court overruled the objection and upheld the probation officer's application of the

enhancement. Since this issue was litigated in the trial court, it is typically not

reviewable under § 2255, absent newly discovered evidence, or a favorable change in the

governing substantive law. Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir.

1976); see also Olmsteadv. UnitedStates, 55 F.3d 316, 319 (7th Cir. 1995). McCall has

shown neither. Even if subject to review, the evidence at trial amply supported an

enhancement under § 3B1.1(b). The Outlaws organization unquestionably involved more

than five participants. McCall was the Cooper Region vice president from October 2008

until June 2009. He participated in regional leadership meetings, assisted in managing

the Lexington, North Carolina clubhouse, was present during planning sessions for

confrontations with rival motorcycle gangs, and gave direction to other members of his

chapter. His activities fall squarely within § 3B 1.1(b).

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         As his third ground for relief under § 2255, "McCall avers that Defense counsel

and Appellate counsel [were] ineffective for failure to raise at sentencing and on direct

appeal the inappropriate application of a two point enhancement under U.S.S.G. Section

2B3.2 in lieu of U.S.S.G. Sections] 2B1.3 and 2x5.1." (McCall's Mem. Support 11.) It

would appear that this claim is directed toward a two level enhancement to his guidelines

under U.S.S.G. § 2B3.2(b)(4)(A). This subsection provides for enhancements for

specific offense characteristics in cases involving extortion by force or threat of injury.

Section 2B3.2(b)(4)(A) allows for a two level increase if any victim sustained a bodily

injury. This argument was addressed by the trial court at McCall's sentencing hearing.

Because McCall fails to demonstrate the discovery of new evidence bearing on this

claim, or that there has been a substantive change in the law, it is not cognizable under §

2255.!

         Shifting his attention to another alleged trial error by counsel, McCall contends

that his attorney failed to move for dismissal based on outrageous governmental conduct.

This claim is based on two acts by undercover ATF special agents. First, McCall

highlights the fact that agents leased the premises for an Outlaws clubhouse in

Petersburg, Virginia. Secondly, the agents participated in a confrontation with a rival

1At McCall's sentencing hearing, the Court concluded that McCall, as a member ofthe
conspiracy, was fully aware that a violentconfrontation was reasonably foreseeable when the
Outlaws confronted a member of the Desperado's motorcycle gang at the Cockade's Bar in
Petersburg, Virginia, on March 14, 2009. The Court further found at that time that McCall was
present during the planning sessions for the confrontation, that the plan involved the use of force
to remove rival biker gangs from the Petersburg area, that McCall was armed with a firearm, and
knew that two other members of the Outlaws were as well. The evidence at trial revealed that a
member of the Outlaws, without provocation, struck a member of the Desperado's, who in turn
attemptedto assault a special agent of ATF. On those facts, the Court upheld the probation
officer's assessmentof a two level enhancement under § 2B3.2(b)(4)(A).
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motorcycle gang at the Cockade's Bar in Petersburg on March 14, 2009. In its response,
the government points out that the evidence at trial revealed that the Outlaws

organization required the agents to agree to develop a clubhouse in Petersburg as a

prerequisite to gang membership. (Gov't's Resp. 10, ECF No. 1080.) Furthermore, the

government notes that the regional vice president of the Outlaws directed an ATF special

agent to locate and report rival motorcycle clubs in Petersburg. (Id.)

       Cases in which the Due Process Clause has been successfully invoked to dismiss

indictments on the basis of outrageous governmental conduct are sparse and

distinguishable. Its genesis can be traced to dicta in United States v. Russell, 411 U.S.

423 (1973). After rejecting the defendant's claim to an entrapment defense, the Supreme

Court observed that "[w]hile we may some day be presented with a situation in which the

conduct of law enforcement agents is so outrageous that due process principles would

absolutely bar the government from invoking judicial processes to obtain a conviction,..

. the instant case is distinctly not of that breed." Id. at 431-32. The vitality of the

outrageous conduct defense was further circumscribed in Hampton v. United States, 425

U.S. 484 (1976). In Hampton, the court noted that the defense "is not intended to give

the federal judiciary a chancellor's foot veto over law enforcementpractices of which it

did not approve." Id. at 490 (internal quotation marks omitted).

       As the Fourth Circuit concluded in United States v. Hasan, "[a]fter Hampton, the

'outrageous conduct' doctrine survives in theory, but is highly circumscribed." 718 F.3d

338, 343 (4th Cir. 2013). The court in Hasan also concluded that "this court has never

held in a specific case that the government has violated the defendant's due process rights
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through outrageous conduct." Id. While the door remains ajar that a case may arise in

which the government's participation in the crime may be so outrageous as to warrant

dismissal on due process grounds, the immediate case falls far short of the mark.

       The same reasoning forecloses McCall's fifth claim that his attorney failed to

request an entrapment instruction. Not only was an entrapment instruction denied by the

court during trial, but the evidence failed to disclose that governmental activity induced

an innocent person to commit the alleged offense. See United States v. Hackley, 662 F.3d

671, 681-82 (4th Cir. 2011), cert, denied, 132 S. Ct. 1936 (2012). There was no

evidence presented at trial to indicate that the government's alleged conduct was

sufficiently egregious to implant a criminal design in the mind of an otherwise innocent

party. UnitedStates v. Sligh, 142 F.3d 761, 763 (4th Cir. 1998).

       McCall also questions the judgment of his trial counsel in not objectingto the jury

instruction explaining the elements which must be proven to convict on Count Four.

Count Four charged McCall with possession of a firearm in furtherance of a crime of

violence, in violation of 18 U.S.C. §§ 924(c) and 2. The Court instructed thejury that in

order to convict on Count Four,

       The government must prove that the defendant's possession of the firearm
      was "in furtherance" of a crime of violence. The term "crime of violence"
      refers to the assault with a dangerous weapon charged in Count 3 of the
      indictment. To establish that the possession of the firearm was in
       furtherance of the offense in Count 3, it is not necessary for the government
      to prove that the defendant actively employed the firearm. Rather, the
      government may meet its burden if it proves that the firearm was used to
      advance or help the defendant in some way in his assault with a dangerous
      weapon.


(Gov't's Resp., Ex. 1, Tr. Trans. 51:13-24.)
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       Mistakenly relying on Bailey, McCall argues that his counsel should have objected
to the above recited language because itdid not require proofthat he actually used a
firearm in a commission ofa crime ofviolence—in other words, that it was actively
employed. McCall was not charged with an offense under the language addressed by the
Supreme Court in Bailey. McCall was indicted under language later added to 18 U.S.C.

§ 924(c)(1)(A), which proscribed the use or carrying ofa firearm, "in furtherance ofany
[crime of violence described in the statute]." Id. Since thejury instruction at issue

tracked the amended language of 18 U.S.C. § 924(c)(1)(A), trial counsel cannot be

faulted for not raising a frivolous objection.

       In his petition, McCall concedes that he "was sent a form of some type for

certiorari review sent by his Appellate counsel and he filled it out and mailed it back to

the appellate attorney." (McCall Mem. Support25.) Following the affirmance of

McCall's convictions by the Fourth Circuit on August 2, 2012, his attorney, Charles D.

Lewis ("Lewis"), notified McCall on August6, 2012 that his appeal had been denied. In

that same correspondence, Lewis advised McCall of his right to request en banc review

by the full Fourth Circuit, and alternatively, his right to file a petition for writ of certiorari

with the Supreme Court. In the same communication, Lewis informed McCall that, in his

opinion, any further appeal of his conviction would be frivolous. Lewis closed by

moving the court for leave to withdraw as counsel inMcCall's case. (Gov't Resp., Ex.
2.) Lewis also conveyed to McCall a United States Court of Appeals for the Fourth

Circuit certiorari status form. The form, which was served on McCall on September 11,
2012, provided the recipient with detailed instructions on filing a petition for writ of
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 certiorari with the Supreme Court. Approximately one year later, McCall filed the

 immediate petition for reliefunder 28 U.S.C. § 2255. In its response, the government

 correctly notes that McCall had no constitutional right to the assistance of counsel in

 filing a petition for writ of certiorari. Ross v. Moffltt, All U.S. 600, 616-18 (1974).

 McCall's counsel made a reasonable decision not to further pursue an unmeritorious

 appeal. After Lewis withdrew from the case, McCall could have pursued a writ of

 certiorari on his own, but he did not do so. Moreover, no request to the Fourth Circuit

 was made to appoint counsel to represent him in a petition for en banc review of his

 convictions. Any further request by McCall for relief to pursue a direct appeal of his

 convictions is untimely.

        McCall's last claim of ineffective assistance of counsel merits minimal discussion.

He contends that "counsel was ineffective for failure to investigate and uncover potential

 material evidence and documents which would directly impeach ATF agents and

 demonstrate illegal illicit activity in which undercover agents Grabman and Ozbolt were

 involved." (McCall Mot. Vacate 8.) He asserts that such unidentified material would

have bolstered a motion for dismissal of the charges based upon outrageous governmental

 conduct and would demonstrate illegal conduct by ATF agents. McCall neither identifies

any specific documents nor how they would affect the outcome of his case. In order to

prevail under § 2255, McCall must "show that there is a reasonable probability that, but

 for counsel's unprofessional errors, the result of the proceeding would have been




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 different. A reasonable probability is a probability sufficient to undermine confidence in

 the outcome." Strickland, 466 U.S. at 694. McCall has failed to meet that burden.2

        Viewing the record as a whole, McCall fails to demonstrate that his trial counsel's

 representation fell below an objective standard ofreasonableness. McCall's perception
 of ineffectiveness flows from his misunderstanding of the law and misconstruction of the

 evidence. Decisions pertaining to "trial strategy and tactics, such as what evidence

 should be introduced, what stipulations should be made, what objections should be

raised, and what pre-trial motions should be filed" reside with trial counsel. Sexton v.

French, 163 F.3d 874, 885 (4th Cir. 1998) (internal quotation marks and citation

omitted); see also United States v. Chapman, 593 F.3d 365, 368 (4th Cir. 2010).

        On July 25, 2014, McCall moved to amend or supplement his § 2255 Motion to

raise claims challenging: the verdict form; "Jury Instruction at #40 regarding the

Pinkerton doctrine" (Mot. Amend 1, 6, ECF No. 1086); "Jury Instruction #25 because it

removes the 'Racketeering' element" (id.); and permitting the use of the concept of

aiding and abetting with respect to convictions under 18 U.S.C. § 924(c). "Under Rule

 15(a) leave to amend shall be given freely, absent bad faith, undue prejudice to the

opposing party, or futility of amendment." United States v. Pittman, 209 F.3d 314, 317


2In his memorandum of law in support of his §2255 motion, McCall states that "[d]uring the
course of the trial's proceedings the Government, mysteriously, on their own motion, submitted
evidence which, if trial counsel was diligent, would have demonstrated illegal, illicit and wrong
doing by ATF government Agents, Grabman and Ozbolt." (McCall Mem. Support 26.) The
materials referred to are parts of thepersonnel records of Grabman and Ozbolt dealing with
unrelated conduct. The only personnel action arguably reflecting on the credibility of an agent
was presented at trial and considered by the jury. Aside from traffic infractions, the other
incidents revealed by the government involved alleged violations of agency regulations and
policies.

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 (4th Cir. 2000) (citations omitted). The Court appropriately denies as futile leave to
 amend, when, as here, the statute of limitations bars the new claims.

        McCall's conviction became final October 31, 2012, the last day to file a petition
 for a writ of certiorari with the Supreme Court. 28 U.S.C. § 2255(f)(1). McCall then had
 one year, or until Thursday, October 31, 2013 to file his claims for relief under 28 U.S.C.

 § 2255.

        Although McCall filed his original § 2255 Motion in a timely fashion, he failed to

 file his Motion to Amend until July of 2014, well after the statute of limitations had

 expired. Thus, the statute of limitations bars McCall's proposed amended claims unless

 McCall demonstrates: entitlement to a belated commencement of the limitations period
 under 28 U.S.C. § 2255(f)(2)-(4); entitlement to equitable tolling, see United States v.

Sosa, 364 F.3d 507, 512 (4th Cir. 2004) (quoting Rouse v. Lee, 339 F.3d 238, 246 (4th

Cir. 2003)); or, that the new claims relate back to the claims in the original § 2255

Motion, see Pittman, 209 F.3d at 317. McCall fails to demonstrate that any of the above

provisions or doctrines render his proposed claims timely. Accordingly, the Motion to

Amend will be denied as futile.


       Despite a broad array of challenges to the wisdom andjudgment of his counsel,

McCall has not demonstrated that counsel's performance was inadequate, ineffective, or

prejudicial. McCall's Motion to Vacate, Set Aside or Correct his Sentence Pursuant to 28

U.S.C. § 2255 will therefore be denied.

       An appeal may not be taken from the final order in a § 2255 proceeding unless a
judge issues a certificate of appealability ("COA"). 28 U.S.C. § 2253(c)(1)(B). A COA
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 will not issue unless a prisoner makes "a substantial showing ofthe denial ofa
 constitutional right." 28 U.S.C. §2253(c)(2). This requirement is satisfied only when
 "reasonable jurists could debate whether (or, for that matter, agree that) the petition
 should have been resolved in a different manner or that the issues presented were
 'adequate to deserve encouragement to proceed further.'" Slack v. McDaniel, 529 U.S.
 473, 484 (2000) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 &n.4 (1983)). McCall
 has not satisfied this standard. Accordingly, a certificate ofappealability will be denied.
        An appropriate Order will accompany this Memorandum Opinion.


                                                    J^          /s/
                                                   Henry E. Hudson
                                                   United States District Judge

Date: Atti/Ji i* 2o/fr
Richmond, VA        '




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